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    7
    8
                             UNITED STATES DISTRICT COURT
    9
                            CENTRAL DISTRICT OF CALIFORNIA
   10
   11
   12 CLIFFORD A. ROSEN, an individual;           Case No.: 8:20-cv-01973-JLS-DFM
      RONALD A. CHRISTENSEN, an                   Judge:     Hon. Josephine L. Staton
   13 individual                                  Dept:      8A
   14              Plaintiffs,                    PROOF OF SERVICE OF
   15              v.                             (1) REQUEST FOR ENTRY OF
                                                      DEFAULT BY CLERK AGAINST
   16 URBAN COMMONS, LLC, a                           DEFENDANTS URBAN
        Delaware Limited Liability Company;           COMMONS, LLC,  URBAN
   17   URBAN COMMONS 6TH AVE                         COMMONS 6TH AVE SEATTLE,
        SEATTLE, LLC, a Delaware Limited              LLC, AND URBAN COMMONS
   18   Liability Company; URBAN                      BATTERY PARK, LLC
        COMMONS BATTERY PARK, LLC,                (2) DECLARATION OF NORMA V.
   19   a Delaware Limited Liability                  GARCIA IN SUPPORT OF
        Company; CHICAGO ANALYTIC                     PLAINTIFFS CLIFFORD A.
   20   TRADING COMPANY, LLC, d/b/a                   ROSEN AND RONALD A.
        LITTLERIVER CAPITAL, LLC, a                   CHRISTENSEN’S REQUEST
   21   Delaware Limited Liability Company;           FOR ENTRY OF DEFAULT BY
        DIGITAL CAPITAL MARKETS,                      CLERK AGAINST
   22   LLC, a Maryland Limited Liability             DEFENDANTS URBAN
        Company; TAYLOR WOODS, an                     COMMONS, LLC,  URBAN
   23   individual; HOWARD WU, an                     COMMONS 6TH AVE SEATTLE,
        individual; C. BRIAN EGNATZ, an               LLC, AND URBAN COMMONS
   24   individual; DOE DEFENDANT 1 WU                BATTERY PARK, LLC
        DEVELOPMENT, LLC, a California
   25   Limited Liability Company; DOE
        DEFENDANT 2 JASON BIRT, an
   26   individual and DOES 1 through 10,
        inclusive
   27
                          Defendants.
   28


                                          PROOF OF SERVICE
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    1                                   PROOF OF SERVICE
    2         I, Karina Lopez, state:
    3       I am employed in the County of Orange, State of California. My business
      address is 695 Town Center Drive, Suite 540, Costa Mesa, CA 92626. I am over the
    4 age of eighteen years and not a party to this action.
    5         On the date set forth below, I served true copies of the document(s) described as
    6     (1) REQUEST FOR ENTRY OF DEFAULT BY CLERK AGAINST TH
          DEFENDANTS URBAN COMMONS, LLC, URBAN COMMONS 6 AVE
    7     SEATTLE, LLC, AND URBAN COMMONS BATTERY PARK, LLC
    8     (2) DECLARATION OF NORMA V. GARCIA IN SUPPORT OF
          PLAINTIFFS CLIFFORD A. ROSEN AND RONALD A. CHRISTENSEN’S
    9     REQUEST FOR ENTRY OF DEFAULT BY CLERK AGAINST
          DEFENDANTS URBAN COMMONS, LLC, URBAN COMMONS 6TH AVE
   10     SEATTLE, LLC, AND URBAN COMMONS BATTERY PARK, LLC
   11 on the interested parties in this action as follows:
   12         Defendant Urban Commons, LLC
              Defendant Urban Commons 6th Ave Seattle, LLC
   13         Defendant Urban Commons Battery Park, LLC
              c/o Taylor Woods and Howard Wu
   14         10250 Constellation Boulevard, Suite 1750
              Los Angeles, CA 90067
   15
              Defendant Howard Wu
   16         13600 Bayliss Road
              Los Angeles, CA 90049-1815
   17
              Defendant Taylor Woods
   18         142 E. Clearvue Drive
              Meridian, ID 83646-5212
   19
           BY FIRST CLASS MAIL: I am employed in Orange County where the
   20       mailing occurred. I enclosed the document(s) identified above in a sealed
            envelope or package addressed to the person(s) listed above, with postage fully
   21       paid. I placed the envelope or package for collection and mailing, following
            our ordinary business practice. I am readily familiar with this firm’s practice
   22       for collecting and processing correspondence for mailing. On the same day that
            correspondence is placed for collection and mailing, it is deposited in the
   23       ordinary course of business with the United States Postal Service.
   24        I declare under penalty of perjury under the laws of the United States and the
      State of California that the foregoing is true and correct. Executed on September 15,
   25 2022, at Costa Mesa, California.
   26
   27                                              Karina Lopez
   28

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                                          PROOF OF SERVICE
